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                                                                   6   [Proposed] Counsel to Bradley D. Sharp, Chapter 11 Trustee

                                                                   7                                   UNITED STATES BANKRUPTCY COURT

                                                                   8                                    CENTRAL DISTRICT OF CALIFORNIA

                                                                   9                                          LOS ANGELES DIVISION

                                                                  10   In re:                                           Case No.: 2:23-bk-10990-SK

                                                                  11   LESLIE KLEIN,
                                                                                                                        Chapter 11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                                                                                    Debtor.             NOTICE OF FILING OF CHAPTER 11
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                                    TRUSTEE’S APPLICATION TO (A)
                                           ATTORNEYS AT LAW




                                                                                                                        EMPLOY COLDWELL BANKER REALTY
                                                                  14                                                    AS REAL ESTATE BROKER AND
                                                                                                                        (B) ENTER INTO EXCLUSIVE LISTING
                                                                  15                                                    AGREEMENTS

                                                                  16                                                    [161 N. Poinsettia Place, Los Angeles, CA 90036;
                                                                                                                        143 S. Highland Avenue, Los Angeles, CA 90036;
                                                                  17                                                    and 315 N. Martel Avenue, Los Angeles, CA
                                                                                                                        90036]
                                                                  18
                                                                                                                        [Relates to Docket No. 234]
                                                                  19

                                                                  20                                                    [No Hearing Required Pursuant to Local
                                                                                                                        Bankruptcy Rules 2014-1(b)(1) and 9013-1(o)]
                                                                  21
                                                                       TO THE HONORABLE SANDRA R. KLEIN, UNITED STATES BANKRUPTCY JUDGE,
                                                                  22   THE DEBTOR, THE OFFICE OF THE UNITED STATES TRUSTEE, AND ALL PARTIES
                                                                       REQUESTING SPECIAL NOTICE:
                                                                  23
                                                                                PLEASE TAKE NOTICE that Bradley D. Sharp, the duly appointed, authorized and acting
                                                                  24
                                                                       chapter 11 trustee (the “Trustee”) of the bankruptcy estate of Leslie Klein (the “Debtor”), has filed
                                                                  25
                                                                       his application (the “Application”) [Docket No. 234], pursuant to 11 U.S.C. § 328, for entry of an
                                                                  26
                                                                       order authorizing him to employ Coldwell Banker Realty (the “Broker”) as the Trustee’s real estate
                                                                  27
                                                                       broker in connection with the marketing and sale of those certain properties located at 161 N.
                                                                  28
                                                                       Poinsettia Place, Los Angeles, California 90036 (the “Poinsettia Place Property”), 143 S. Highland

                                                                       DOCS_LA:350300.2 78512/001
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                                                                   1   Avenue, Los Angeles, California 90036 (the “Highland Avenue Property”), and 315 N. Martel

                                                                   2   Avenue, Los Angeles, California 90036 (the “Martel Avenue Property”, and together with the

                                                                   3   Poinsettia Place Property and the Highland Avenue Property, the “Properties”).

                                                                   4            PLEASE TAKE FURTHER NOTICE that, based on the terms set forth in the listing

                                                                   5   agreements attached to the Application as Exhibits “1”–“3”, respectively, the Broker shall be

                                                                   6   compensated for its services for a total commission of five percent (5.0%) of the selling price for

                                                                   7   each of the Properties (payable only upon close of sale) to be shared as follows: two and one-half

                                                                   8   percent (2.50%) to buyer’s broker, if any, and the other two and one-half percent (2.50%) to the

                                                                   9   Broker.

                                                                  10            PLEASE TAKE FURTHER NOTICE that a copy of the Application may be obtained by

                                                                  11   contacting Beth Dassa, Pachulski Stang Ziehl & Jones LLP, 10100 Santa Monica Blvd., Suite 1300,
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   Los Angeles, CA 90067, (310) 277-6910, Facsimile (310) 201-0760, email: bdassa@pszjlaw.com.
                                        LOS ANGELES, CALIFORNIA




                                                                  13            PLEASE TAKE FURTHER NOTICE that pursuant to Local Bankruptcy Rule 2014-1(b),
                                           ATTORNEYS AT LAW




                                                                  14   a hearing is not required in connection with the Application unless requested by the United States

                                                                  15   Trustee, a party in interest, or otherwise ordered by the Court. Pursuant to Local Bankruptcy Rule

                                                                  16   2014-1(b)(5), any response to the Application and request for hearing must be in the form prescribed

                                                                  17   by Local Bankruptcy Rule 9013-1(o)(4) and must be filed with the Court and served upon counsel

                                                                  18   for the Trustee at the address in the upper left-hand corner of the first page of this Notice, and the

                                                                  19   United States Trustee no later than fourteen (14) days from the date of service of this Notice.

                                                                  20
                                                                       Dated:      August 3, 2023                        PACHULSKI STANG ZIEHL & JONES LLP
                                                                  21

                                                                  22                                                     By    /s/ Jeffrey W. Dulberg
                                                                                                                               Jeffrey W. Dulberg
                                                                  23                                                           John W. Lucas
                                                                  24                                                          [Proposed] Counsel to Bradley D. Sharp,
                                                                                                                              Chapter 11 Trustee
                                                                  25

                                                                  26

                                                                  27

                                                                  28

                                                                                                                     2
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                     10100 Santa Monica Boulevard, 13th Floor, Los Angeles, California 90067

A true and correct copy of the foregoing document entitled (specify): NOTICE OF FILING OF CHAPTER 11
TRUSTEE’S APPLICATION TO (A) EMPLOY COLDWELL BANKER REALTY AS REAL ESTATE BROKER AND
(B) ENTER INTO EXCLUSIVE LISTING AGREEMENTS will be served or was served (a) on the judge in chambers in
the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
August 3, 2023, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:


                                                                                        Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) August 3, 2023, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.


                                                                                        Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) ____________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing
to such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
declaration that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the
document is filed.


                                                                                        Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 August 3, 2023                  Nancy H. Brown                                                  /s/ Nancy H. Brown
 Date                            Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                            F 9013-3.1.PROOF.SERVICE
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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

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       Roye Zur rzur@elkinskalt.com, cavila@elkinskalt.com;lwageman@elkinskalt.com;1648609420@filings.docketbird.com

2. SERVED BY UNITED STATES MAIL:


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Michael Jones, Assistant U.S. Trustee                      CHORA YOUNG & MANASSERIAN LLP                           Scheer Law Group, LLP
Office of the U.S. Trustee                                 650 Sierra Madre Villa Ave., Ste. 304                   85 Argonaut, Suite 202
915 Wilshire Boulevard, Suite 1850                         Pasadena, CA 91107                                      Aliso Viejo, CA 92656
Los Angeles, CA 90017

Eric J. Olson                                              Nathan Talei                                            Brett Wasserman
EJ Olson Law                                               Oldman, Sallus & Gold, L.L.P.                           Shumaker Mallory, LLP
301 E. Colorado Blvd., Ste. 520                            16133 Ventura Blvd., PH-A                               280 S. Beverly Dr., Ste. 505
Pasadena, CA 91101                                         Encino, CA 91436                                        Beverly Hills, CA 90212



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June 2012                                                                                            F 9013-3.1.PROOF.SERVICE
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